Case 1:23-cv-03721-SCJ Document 1-167 Filed 08/21/23 Page 1 of 4




                 EXHIBIT B-155
     Case 1:23-cv-03721-SCJ Document 1-167 Filed 08/21/23 Page 2 of 4
                                                                                 FILED IN OFFICE




                                    ST ATE OF GEORGIA

IN RE:                                       )
                                             )       2022-EX-000024
SPECIAL PURPOSE GRAND JURY                   )
                                             )       Judge Robert C. I. McBurney
                                             )
                                             )
                                             )

STATE'S MODIFICATION OF ITS MOTION IN LIGHT OF TARGETED
DEFENDANT FALSE ELECTORS HIRING INDEPENDENT, CONFLICT-
  FREE COUNSEL TO SATISFY STATE'S CONCERN REGARDING
            INTEGRITY OF THE TRIAL PROCESS.

   COMES NOW, Fulton County District Attorney Fani T. Willis, on behalf of the State of
Georgia and the citizens of Fulton County, and files this modification of its Motion to Disqualify
and shows this Court the following:

   l. The purpose of the State's motion filed on April 18, 2023, was to protect the rights of
      potential defendants as well as the integrity of potential convictions,
   2. Further, to address any ethical violations by Ms. Debrow that may result in appealable
      issues,
   3. Pursuant to the State filing its motion detailing its grave concerns with Ms. Debrow's
      representation of clients with differing levels of criminal exposure and differing status as
      to offers of immunity, those potential defendants who have not been offered immunity
      have hired new, conflict-free counsel and have eliminated the conflict causing the
      State's concern,
   4. As all of Ms. Debrow's remaining clients have accepted immunity offers from the state,
      her representation of multiple clients no longer creates the conflict that gave rise to the
      State's concern, thereby rendering the State's April 18, 2023, motion moot.

       WHEREFORE, based on the foregoing facts, the District Attorney respectfully requests
   that the Court recognizes the State's April 18, 2023, motion regarding attorney Kimberly
   Burroughs Debrow's representation of multiple potential defendants as moot.
 Case 1:23-cv-03721-SCJ Document 1-167 Filed 08/21/23 Page 3 of 4




Respectfully submitted this 10th day of May 2023.




                                               Atlanta Judicial Circuit
                                               Ga. Bar No. 223955
                                               136 Pryor Street Southwest
                                               Third Floor
                                               Atlanta, Georgia 30303




                                               NATHAN J.
                                               SPECIAL PROSECUTOR
                                               Atlanta Judicial Circuit
                                               Ga. Bar No. 390947
                                               136 Pryor Street Southwest
                                               Third Floor
                                               Atlanta, Georgia 30303
     Case 1:23-cv-03721-SCJ Document 1-167 Filed 08/21/23 Page 4 of 4




                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing modification of the state's motion in light of
targeted defendant false electors hiring independent, conflict-free counsel to satisfy State's
concern regarding integrity of the trial process will be served upon Kimberly Burroughs Debrow
by electronic mail, this 10th day of May 2023.




                                                      FANI T. WILLIS
                                                      DISTRICT ATTORNEY
                                                      Atlanta Judicial Circuit
                                                      Ga. Bar No. 223955
                                                      136 Pryor Street Southwest
                                                      Third Floor
                                                      Atlanta, Georgia 30303




                                                      NATHAN J. WADE
                                                      SPECIAL PROSECUTOR
                                                      Atlanta Judicial Circuit
                                                      Ga. Bar No. 390947
                                                      136 Pryor Street Southwest
                                                      Third Floor
                                                      Atlanta, Georgia 30303
